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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

MICHAEL SOWDERS,

     Plaintiff,                                      CASE NO.:   3:18-cv-585-CRS

v.

WESTLAKE SERVICES, LLC,

     Defendant.
                                       /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, Plaintiff, Michael Sowders, by and through the undersigned counsel, and

sues Defendant, WESTLAKE SERVICES, LLC, and in support thereof respectfully alleges

violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                           INTRODUCTION

           1.     The TCPA was enacted to prevent companies like WESTLAKE SERVICES,

LLC from invading American citizen’s privacy and to prevent abusive “robo-calls.”

           2.     “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

           3.     “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).



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       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                 JURISDICTION AND VENUE

        5.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

        6.     Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       7.      The alleged violations described herein occurred in Jefferson County, Kentucky.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                   FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Kentucky, residing in

Jefferson County, Kentucky.




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       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       10.     Defendant is a corporation with its principal place of business located at 4751

Wilshire BLVD #100, Los Angeles, CA 90010, and which conducts business in the State of

Kentucky through its registered agent, Corporate Creations Networking, located at 101 North

Seventh Street, Louisville, KY 40202.

       11.     Defendant called Plaintiff approximately three hundred (300) times in an attempt

to collect an alleged debt.

       12.     Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“autodialer calls”). Plaintiff will testify that he knew it was an autodialer because of the vast

number of calls he received and because he heard a pause when he answered his telephone

before a voice came on the line and he received prerecorded messages from Defendant.

       13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (502) ***-9370, and was the called party and recipient of Defendant’s calls.

       14.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following telephone numbers: (888) 333-5662,

(888) 706-3772, (502) 414-0830, (502) 414-0810, (502) 305-1990, (502) 414-0864, (502) 414-

0808, (502) 414-0820, (502) 205-9438, (502) 305-2023, (502) 414-0862, (502) 305-2025




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        15.    On several occasions over the last four (4) years, Plaintiff instructed Defendant’s

agent(s) to stop calling his cellular telephone.

        16.    In or about February of 2018, Plaintiff answered a call from Defendant to his

aforementioned cellular telephone number.          Plaintiff spoke to an agent/representative of

Defendant and informed the agent/representative that the calls to his cellular telephone were

harassing and demanded that they cease calling his cellular telephone number.                  The

agent/representative of Defendant responded to Plaintiff that the calls would continue until they

collected on the alleged debt in reference.

        17.    Each subsequent call Defendant made to Plaintiff’s aforementioned cellular

telephone number was knowing and willful and done so without the “express consent” of

Plaintiff.

        18.    Despite clearly and unequivocally revoking any consent Defendant may have

believed they had to call Plaintiff on his cellular telephone, Defendant continues to place calls to

Plaintiff.

        19.    Additionally on or about April 17, 2018, due to continued automated calls to his

aforementioned cellular telephone number from the Defendant, Plaintiff called Defendant and

was connected to a live agent of Defendant, and informed the agent/representative of Defendant

that he had previously informed them not to call his cellular telephone, and again demanded that

Defendant cease placing calls to his aforementioned cellular telephone number.

        20.    Plaintiff’s numerous conversations with the Defendant’s agent(s)/representative(s)

over the telephone wherein he demanded a cessation of calls were in vain as Defendant continues

to bombard him with automated calls unabated.




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        21.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

        22.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s cellular telephone in

this case.

        23.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        24.     Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

        25.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        26.     Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        27.     Defendant has had numerous complaints against it from consumers across the

country asking to not be called, however Defendant continues to call these individuals.

        28.     Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

number removed from Defendant call list.

        29.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        30.     Not one of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).


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       31.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

       32.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon his right of seclusion.

       33.     From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the telephone unavailable for

legitimate callers or outgoing calls while the telephone was ringing from Defendant call.

       34.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.

For calls he answered, the time she spent on the call was unnecessary as he repeatedly asked for

the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone

and deal with missed call notifications and call logs that reflect the unwanted calls. This also

impaired the usefulness of these features of Plaintiff’s cellular telephone, which are designed to

inform the user of important missed communications.

       35.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone was an injury in the form of a nuisance and annoyance to the Plaintiff. For

calls that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even

for unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed

call notifications and call logs that reflected the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular telephone, which are designed to inform the

user of important missed communications.




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        36.     Each and every call placed without express consent by Defendantto Plaintiff’s

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’s cellular

telephone’s battery power.

        37.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone

or network.

        38.     Each and every call placed without express consent by Defemdant to Plaintiff’s

cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular

telephone and his cellular telephone services.

        39.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress and frustration

                                            COUNT I
                                     (Violation of the TCPA)

        40.     Plaintiff fully incorporates and realleges paragraphs one (1) through thirty nine

(39) as if fully set forth herein.

        41.     Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff wished for the calls to stop

        42.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against WESTLAKE SERVICES, LLC for statutory damages, punitive damages,

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actual damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.

                                             Respectfully submitted,

                                            /s/ Octavio Gomez
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